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        COMBAT ARMS SETTLEMENT AGREEMENT FOR VERDICT CASES
                 MASTER SETTLEMENT AGREEMENT II

        This Combat Arms Settlement Agreement for Verdict Cases (“the Verdicts Settlement” or
“MSA II”), dated August 29, 2023 between (1) 3M Company (“3M”) and Aearo Technologies
LLC, an acquired subsidiary of 3M, along with 3M Occupational Safety, Aearo Holding LLC,
Aearo Intermediate LLC, and Aearo LLC, collectively (“Aearo”), and along with 3M, collectively
(“Defendants”); (2) Undersigned leadership in In re Combat Arms Earplug Products Liability
Litigation, MDL No. 2885, U.S.D.C. for the Northern District of Florida (“MDL Court”); and (3)
Undersigned leadership in the Minnesota coordinated state court action pending in the 4th Judicial
District, County of Hennepin, Minnesota, File No. 27-CV-19-19916 (“MN Court”), collectively
the “Negotiating Plaintiffs’ Counsel” (“NPC”). Defendants and all members of the NPC are each
a “Party,” and, together with the NPC, are the “Parties.”

         The Verdicts Settlement is reached in accordance with Article 2 of the Parties’ Combat
Arms Master Settlement Agreement (“MSA”) which states that that “[t]he Parties agree that the
Verdicts and Wave Cases shall be resolved in accordance with MSA II and MSA III.” The
Verdicts Settlement confirms that Defendants intend to settle and fully resolve, to the greatest
extent possible, all verdicts against Defendants connected to the use of CAE. In the event of a
conflict between the MSA and the Verdicts Settlement, the Verdicts Settlement shall control.

        All capitalized terms used herein shall have the meanings ascribed to them, respectively,
either where they are first used (set off in parentheses and quotations and underscored) or where
they appear in Article 1 below.
                                             RECITALS

        A.      The Parties have concluded that, given the facts and circumstances of the CAE
Claims, including the claims asserted and the legal and factual defenses thereto, it would be in the
Parties’ best interests to enter into the Verdicts Settlement to avoid the uncertainties, burdens, and
risks of new and continued litigation. The Parties further concluded that, based on, among other
things, the number of CAE Claimants that exist and that the Parties believe will participate in the
settlement, the Verdicts Settlement is fair, reasonable, and adequate.

      B.      Nothing in the Settlement will be construed as evidence of, or as an admission by,
Defendants of any fault, liability, wrongdoing, or damages whatsoever.

       The Parties hereby agree as follows:

                                           ARTICLE 1
                                          DEFINITIONS

       All capitalized terms have the same meaning as set forth in Article 1 of the MSA. Terms
separately defined in the Verdicts Settlement shall have the same meaning set forth herein.

        Verdict Cases: The CAE cases that went to trial and obtained a verdict against Defendants
prior to the Settlement Date listed on Exhibit 1.


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       Verdict Claimants:     The Eligible Claimants who are the plaintiffs in Verdict Cases.

                                          ARTICLE 2
                                          VERDICTS

       Section 2.1    Settlement of the Verdict Cases

       As set forth in the MSA, the Parties agree that the Verdict Cases shall be resolved in
accordance with this separate agreement, the Verdicts Settlement, setting forth the terms and
conditions of resolution for those cases. For the avoidance of doubt, resolutions were negotiated
individually, and it is anticipated that all Verdict Claimants will participate.

       Section 2.2    List of Verdict Cases

       The Verdict Cases are identified on Exhibit 1.

       Section 2.3    Payment by Defendants

       Consistent with the terms set forth in this Section, Defendants agree to pay a lump sum,
cumulative payment of $146,900,000.00 as collective consideration for all Releases and Stipulated
Dismissals with Prejudice from all of the Verdict Cases. The Settlement Amount for each
individual Verdict Claimant shall be based upon the schedule negotiated with each individual
Verdict Claimant.

        Section 2.3.1 Each Verdict Claimant shall place a Release (a form of which is attached as
Exhibit 2 to the Verdicts Settlement) and, for cases on appeal, a stipulated dismissal agreement
consistent with F.R.A.P. 42 or, for cases not yet on appeal, a Stipulated Dismissal with Prejudice
(a form of which is attached to the MSA) in escrow with a copy provided to Defendants as soon
as practicable after the Settlement Date.

       Section 2.3.2 Defendants shall have ten (10) days from receipt of a Release from a Verdict
Claimant to object to its validity by providing a written objection setting forth the reasons
Defendants believe the Release is not valid. The written objection must be served on Verdict
Claimant’s CAE Counsel, the NPC, the Settlement Administrator and the Settlement Special
Master. If Defendants do not object to a Release from a Verdict Claimant within ten (10) days, the
Release shall be deemed valid.

         Section 2.3.3 Within twenty (20) days of receipt of the Releases and stipulated dismissals
for all Verdict Cases, Defendants shall deposit $146,900,000.00 into the QSF.

       Section 2.3.4 Upon Defendants’ payment, the Releases and stipulated dismissals for
Verdict Cases will be released from escrow.

       Section 2.4    Stay and Dismissal of Pending Litigation

       In light of this agreement to settle the Verdict Cases, the Parties shall, beginning on the
Settlement Date, cooperate to stay any ongoing litigation of the Verdict Cases.

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         Section 2.4.1 Within five (5) days of the Settlement Date, the Parties shall jointly move
for a stay of any currently pending appeal from each and any of the Verdict Cases.

        Section 2.4.2 Within five (5) days after the Releases have been released to Defendants
and the payment to the QSF has been made by Defendants, CAE Counsel for each Verdict Claimant
and Defendants will jointly file the stipulated dismissals.

       Section 2.4.3 Verdict Claimants, CAE Counsel for each Verdict Claimant and Defendants
agree not to seek any costs or fees associated with the dismissed appeals.

       Section 2.4.4 Notwithstanding anything to the contrary, including that either Party
exercises one of their Walkaway Rights set forth in the MSA, the Parties shall be bound by the
Verdicts Settlement, including the obligation for Defendants to make payments to the QSF
pursuant to this Article in exchange for the release from escrow of the Releases and stipulated
dismissals. For the avoidance of any doubt, the fact of any Party exercising a Walkaway Right
under the MSA shall not affect the Verdicts Settlement.

                                      ARTICLE 3
                               ADMINISTRATIVE EXPENSES

       Section 3.1     Administrative Expenses

        The Settlement Administrator and the Special Master of the Verdicts Settlement shall be
the Settlement Administrator and Special Master specified in the MSA. Defendants shall not be
responsible for any administrative expenses other than those set forth in Article 3 of the MSA.

                                        ARTICLE 4
                                  RELEASES AND DISMISSAL

       Section 4.1     Releases

        To access the benefits of the Verdicts Settlement, each Verdict Claimant must complete
and provide into escrow a full and complete Release in the form set forth in Exhibit 2, and a
stipulated dismissal agreement to (without limitation) release, indemnify, and hold harmless each
Released Party. If the Release and stipulated dismissal are signed and lawfully appointed
representative of a Verdict Claimant, said representative must indicate on each document
his/her/their relationship to the Verdict Claimant and the authority upon which he/she/they is
permitted to sign the document on the Verdict Claimant’s behalf (e.g., guardian, executor or
administrator of the Estate of Verdict Claimant, etc.) and attach proper documentation (e.g., power
of attorney, letters of administration, small estate affidavit or other state law equivalent)
authorizing him/her/them to act in this representative capacity.

       Section 4.2     Bankruptcy or Other Documents

        To the extent any Verdict Claimant has received any funding or other consideration from
any third party, including any private litigation funding, such Verdict Claimant shall represent and
warrant, and by executing the Release does represent and warrant, that such third party has no lien
or other claim that can be asserted against any of the Verdict Claimant or the QSF or any portion
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thereof. Each Verdict Claimant shall agree, and by executing the Release does agree, that he or
she will indicate whether a bankruptcy action is currently pending in which he or she is seeking
bankruptcy protection. Verdict Claimants subject to any bankruptcy court proceeding or
jurisdiction will be responsible for resolving any issues arising from the bankruptcy before any
payment may be made to such Verdict Claimant.

       Section 4.3     Additional Information

       The Settlement Administrator may request additional information or communicate with
CAE Counsel for a Verdict Claimant or any Verdict Claimant in conjunction with CAE Counsel
concerning any questions that may arise in this process and/or to request additional information or
documentation from any Verdict Claimant.

       Section 4.4     No Punitive Damages

        By submitting a Release, each Verdict Claimant waives the right to receive any punitive
damages and each Verdict Claimant understands and agrees that the amount paid under the
Verdicts Settlement is for compensatory damages only and that no payment paid hereunder is, or
shall deemed to be, attributable to punitive damages, or pre- or post-judgment interest.

       Section 4.5     No Withdrawal of Release

        Submission of a Release is irrevocable. However, if less than all Verdict Claimants provide
a Release, no payment will be made by Defendants, and all Releases held in escrow shall be
destroyed by the Settlement Administrator and are null and void. By submitting a signed Release,
a Verdict Claimant agrees to end all litigation activity against Defendants, consistent with the terms
set forth in the Release.

       Section 4.6     Waiver of Defects.

       Defendants, in their sole discretion, may waive or direct the Settlement Administrator to
waive any defect in a submission of a Release and stipulated dismissal at any point. Any such
waiver by Defendants must be in writing and served on the NPC and Verdict Claimant’s CAE
Counsel.

       Section 4.7     Escrow and Release Following Payment

       Releases and stipulated dismissals provided as part of this Agreement shall be held in
escrow by the Settlement Administrator, until after all Verdict Claimants have provided such a
Release and dismissal. Defendants shall have access to such Releases and dismissals and may
review them at any time prior to making the payment pursuant to Section 2.3.

       Section 4.8     Obligations of Verdict Claimants and Their CAE Counsel

       By the submission of a Release by a Verdict Claimant or by CAE Counsel on behalf of
said Verdict Claimant, all CAE Counsel that have an interest in such Verdict Case shall be deemed
to have agreed to be bound by all of the terms and conditions of the Verdicts Settlement and the

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MSA, including the provisions in Section 5.6 and Article 8 of the MSA (defining the obligations
of CAE Counsel).

                                     ARTICLE 5
                             SETTLEMENT ADMINISTRATION

       Section 5.1     Settlement Administration

       Settlement and claims administration related to the Verdict Cases shall be conducted in
accordance with Article 9 and Article 13 of the MSA, including the healthcare lien resolution
provisions of the MSA.

                                         ARTICLE 6
                                      ATTORNEYS’ FEES

       Section 6.1     Individual Counsel Attorneys’ Fees

       Individual Counsel’s attorney-client fee agreements shall not be infringed or encroached
upon by the Verdicts Settlement and attorneys’ fees shall be handled in accordance with all
applicable ethical requirements.

       Section 6.2     Common Benefit Fund

        Work performed and expenses incurred for the benefit of all Verdict Claimants as defined
more fully in the MDL Court’s Common Benefit Orders and the MN Court’s Common Benefit
Orders shall be paid from the Common Benefit Fund. Payments are subject to procedures set in
place by the MDL Court and/or the MN Court now or in the future. The Common Benefit
Assessment as set forth in the MDL Court’s Orders and/or the MN Court’s Orders in place now or
in the future shall be held back by the QSF Administrator on a per Verdict Claimant’s basis with
payments due to the Common Benefit Fund by the QSF Administrator on a quarterly basis. The
QSF Administrator must provide proof to the Settlement Special Master, the MDL PEC, and the
MDL Court of compliance with the Common Benefit Orders.

       Section 6.3     No Additional Payments by Defendants

       For the avoidance of doubt, Defendants shall have no obligation to pay additional sums for
attorneys’ fees or costs, including pursuant to any fee petition, beyond the amount set forth in
Section 2.3 of the Verdicts Settlement, all such claims for attorneys’ fees and costs being released
by Verdict Claimants.
                                            ARTICLE 7
                                      MISCELLANEOUS

       Section 7.1     Tax Consequences

      Neither Verdict Claimants nor Defendants (nor Verdict Claimant’s Counsel or Defendants’
Counsel) makes any representation regarding the tax consequences of this Verdicts Settlement. All
payments provided for herein constitute damages on account of personal physical injuries and/or

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physical sickness, within the meaning of Section 104(a)(2) of the Internal Revenue Code of 1986,
as amended.

       Section 7.2    No Presumption as to Drafting

        The Verdicts Settlement is the product of arm’s-length negotiations between counsel and/or
Parties represented by counsel. No Party shall be deemed to be the drafter of the Verdicts
Settlement or any provision thereof. No presumption shall be deemed to exist in favor of or against
any Party as a result of the preparation or negotiation of the Verdicts Settlement.

       Section 7.3    Not Affected by Change In Law

       The Verdicts Settlement shall be binding on the Parties regardless of any change in the law
that might occur after the date the NPC and Defendants execute the Verdicts Settlement.

       Section 7.4    Entire Agreement

        The Verdicts Settlement and all exhibits hereto constitute the entire agreement between
NPC and Defendants with respect to the subject matter of this Verdicts Settlement, and there are
no other written or oral agreements, understandings, or arrangements except as set forth herein
(including references to the MSA). This Agreement supersedes and replaces any prior agreement
or writing between the Parties. The Parties understand, agree, and acknowledge that no promises,
representations, understandings, or warranties have been made by any Party or relied upon as an
inducement for entering into the Verdicts Settlement, except as contained herein, and that the
Verdicts Settlement constitutes the full statement of any agreement between the Parties. The terms
of the Verdicts Settlement may not be modified or waived except in writing, signed by the Parties
hereto. The Parties hereby acknowledge that they have read the Verdicts Settlement and had an
opportunity to obtain the advice of competent counsel of their choosing regarding it. As such, the
Parties hereby also acknowledge that they understand the terms of the Verdicts Settlement, and
that they freely and voluntarily sign and enter into it. The Parties further acknowledge that, in
entering into the Verdicts Settlement, they have not relied upon any statement or representation by
or on behalf of the other Party, except as stated herein.

       Section 7.5    Governing Law

       The Verdicts Settlement is a private agreement. The substantive laws of the State of New
York shall govern the validity, construction, enforcement, and interpretation of the Verdicts
Settlement as applied by the MDL Court.

       Section 7.6    Headings

       The headings used herein are for reference only and shall not affect the construction of the
Verdicts Settlement.

       Section 7.7    Agreement May Be Executed in Counterparts



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        The Verdicts Settlement may be executed in counterparts and taken together shall
constitute one and the same Verdicts Agreement. The Verdicts Settlement shall be binding when
signed by the Parties, but Verdict Claimants’ Counsel shall also sign to signify their intent to be
fully bound to the Verdicts Settlement and the MSA.

       Section 7.8     Successors, Assigns & Binding Effect

         The Verdicts Settlement shall be binding on, and inure to the benefit of, the successors and
assigns of the Parties hereto. Nothing in the Verdicts Settlement, express or implied, is intended
to confer upon any person or entity other than the Parties hereto or their respective successors,
heirs, issue, and assigns, any rights or benefits under or by reason of the Verdicts Settlement. The
Verdicts Settlement shall not be assignable by any Party hereto without prior written consent of
the other Party or as otherwise expressly set forth in the Verdicts Settlement.

       Section 7.9     Amendment or Waiver

        The Verdicts Settlement shall not be modified in any respect, except by a writing executed
by all Parties to the Verdicts Settlement. The waiver of any rights conferred by the Verdicts
Settlement shall be effective only if made in writing by the waiving Party. The waiver by any Party
of any breach of the Verdicts Settlement shall not be deemed or construed as a waiver of any other
breach, whether prior to, subsequent to, or contemporaneous with the Verdicts Settlement.

       Section 7.10 Electronic Signatures

        Electronic signatures shall be accepted for execution of any settlement document required
of Verdict Claimants or Verdict Claimants’ Counsel. The Parties will work with the Settlement
Administrator and Settlement Special Master to ensure compliance with applicable standards and
protections.

       Section 7.11 Notice to CAE Claimants’ Counsel

       For any notice required to be provided under the Verdicts Settlement to Verdicts Claimants
or Verdicts Claimants’ Counsel, Defendants shall provide notice by overnight mail and email to:

       Bryan F. Aylstock
       Aylstock, Witkin, Kreis
       & Overholtz, PLLC
       17 East Main Street, Suite 200
       Pensacola, FL 32502
       baylstock@awkolaw.com

       Christopher A. Seeger
       Seeger Weiss LLP
       55 Challenger Road,
       Ridgefield Park, NJ 07660
       cseeger@seegerweiss.com


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       Clayton A. Clark
       Clark, Love & Hutson, PLLC
       440 Louisiana Street, Suite 1700
       Houston, Texas 77002
       CClark@triallawfirm.com

       Section 7.12 Notice to Defendants or Defendants’ Counsel

      For any notice required to be provided under the Verdicts Settlement to Defendants,
Claimants’ Counsel shall provide notice by overnight mail and email to:

       Kevin H. Rhodes
       Executive Vice President and Chief Legal Affairs Officer
       Legal Affairs Department
       3M Company
       3M Center, 220-9E-01
       St. Paul, MN 55144-1000
       3MCAEnotices@mmm.com

       Thomas J. Perrelli
       Jenner & Block LLP
       1099 New York Avenue, N.W., Suite 900
       Washington, DC 20001-4412
       3MCAE@jenner.com

       Section 7.13 No Admission of Liability

        Neither the Verdicts Settlement, nor any exhibit, document, or instrument delivered
hereunder, nor any statement, transaction, or proceeding in connection with the negotiation,
execution, or implementation of the Verdicts Settlement, is intended to be or shall be construed as
or deemed to be evidence of an admission or concession by Defendants of any fault, liability,
wrongdoing, or damages, or of the truth of any allegations asserted by any plaintiff or claimant
against it, including by any Eligible Claimant or Derivative Claimant, or as an admission by any
Eligible Claimant or Derivative Claimant of any lack of merit in their CAE Claim.

        No Party or Verdict Claimant shall seek to introduce and/or offer the terms of the Verdicts
Settlement, any statement, transaction, or proceeding in connection with the negotiation,
execution, or implementation of the Verdicts Settlement, or any statements in the documents
delivered in connection with the Verdicts Settlement, or otherwise rely on the terms of the Verdicts
Settlement, in any judicial proceeding, except as necessary to enforce the terms of the Verdicts
Settlement or any instrument executed and delivered pursuant to the Verdicts Settlement, or in
connection with the determination of any income tax liability of a party. If a person seeks to
introduce and/or offer any of the matters described herein in any proceeding against Defendants
or any of the Released Parties, the restrictions of this Section shall not be applicable to Defendants
with respect to that person.



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       Section 7.14 Public Statements

        The Parties may, at their discretion, issue publicity, press releases, or other public
statements regarding the Verdicts Settlement, whether unilaterally or as jointly agreed to in writing
by all Parties. The Parties, Verdict Claimants and Verdicts Claimants’ Counsel agree to maintain
in confidence, and shall not disclose to any person, the amount to be paid under the Verdicts
Settlement for each individual Verdict Claimant, except as may be required by applicable law and
to effectuate the settlement; provided, that such information may be disclosed to Verdict Claimant’s
immediate family members and to Verdict Claimant’s counsel, accountants and/or financial
advisors, if any (each of whom shall, upon such disclosure, be instructed to maintain and honor
the confidentiality of such information). Any jointly agreed or other statement shall not limit
Defendants’ ability to provide information about the Verdicts Settlement to their employees,
accountants, attorneys, insurers, shareholders, investors, analysts, or other stakeholders or in
accordance with legal requirements, or limit any Party’s ability to provide notice or information
about the Verdicts Settlement to Verdict Claimants or in accordance with legal requirements.

       Section 7.15 Confidentiality

        The Parties shall keep confidential the content of the negotiations, points of discussion,
documents, communications, and supporting data utilized or prepared in connection with the
negotiations and settlement discussions taking place related to the MSA, the Verdicts Settlement
and the Waves Settlement. Nothing in those settlement agreements shall prevent Defendants from
disclosing such information to their insurers in the context of their coverage investigations.

       Section 7.16 No Illegal Activity or Fraud and Unethical Conduct

        Nothing in the Verdicts Settlement shall be interpreted to require any Party, any Eligible
Claimant, any CAE Counsel, or Defendants’ counsel to engage in any conduct that is a violation
of law and/or unethical under applicable ethical rules.




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         IN WITNESS WHEREOF, the Parties have executed the Verdicts Settlement as of the date
first set forth above.
                                       3M

                                           By: ________________________

                                          Kevin H. Rhodes
                                          Chief Legal Affairs Officer, 3M

                                          Aearo

                                          By: ________________________

                                          Kevin H. Rhodes, Authorized Representative
                                          Aearo Technologies LLC

                                          By: ________________________

                                          Thomas J. Perrelli
                                          Counsel for 3M


                                          Negotiating Plaintiffs’ Counsel

                                           By: ________________________

                                          Bryan F. Aylstock
                                          Counsel for Plaintiffs

                                           By: ________________________

                                          Chris Seeger
                                          Counsel for Plaintiffs

                                           By: ________________________

                                          Clayton A. Clark
                                          Counsel for Plaintiffs

                                          By: ________________________

                                          Daniel E. Gustafson
                                          Counsel for the MN Plaintiffs




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By signing this Verdicts Settlement, the undersigned agree to hold the individual
verdict amount strictly confidential and to otherwise be bound by the Verdict
Settlement and the MSA.



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